                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 JOSE LUIS GALLARDO-REGALDO,

               Petitioner,

 v.                                                      3:06-cv-301
                                                         3:03-cr-101


 UNITED STATES OF AMERICA,

               Respondent.


                                   JUDGMENT ORDER


        In accordance with the accompanying Memorandum Opinion, the motion to vacate,

 set aside or correct sentence pursuant to 28 U.S.C. § 2255 is DENIED and this action is

 DISMISSED. Should the petitioner give timely notice of an appeal from this decision, such

 notice will be treated as an application for a certificate of appealability, which under the

 circumstances is DENIED. The court CERTIFIES that any appeal from this action would

 not be taken in good faith and would be totally frivolous. Therefore, this court hereby

 DENIES the petitioner leave to proceed in forma pauperis on appeal.


               E N T E R:
                                                         s/ James H. Jarvis
                                                      United States District Judge

 ENTERED AS A JUDGMENT
    s/ Patricia L. McNutt
    CLERK OF COURT


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